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                                                                                                 Core/2002 Service List


                   Description                                           Name                                  Address                  Fax                         Email                   Method of Service
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(Ret.), in her capacity as Trustee of the BSA                                              Attn: Emily P Grim                                    grime@gilbertlegal.com
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Internal Revenue Service                                                                   P.O. Box 7346
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Company/Counsel for for Arch Insurance Company

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